Case 1:18-cv-00950-LO-JFA Document 22 Filed 09/24/18 Page 1 of 3 PageID# 316



                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                       Plaintiffs,
                                                  Case No. 1:18-cv-00950-LO-JFA
                 v.

 COX COMMUNICATIONS, INC., et al.,

                       Defendants.



  DEFENDANTS’ MOTION TO TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404

       Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox” or “De-

fendants”) respectfully move this Court to transfer the present action to the Northern District of

Georgia, Atlanta Division. Defendants state the specific grounds for their Motion in its accompa-

nying Memorandum of Law in Support of Defendants’ Motion to Transfer Venue Pursuant to 28

U.S.C. § 1404.

       The parties met and conferred regarding Defendants’ anticipated Motion on September 20,

2018, but were not able to come to resolution.
Case 1:18-cv-00950-LO-JFA Document 22 Filed 09/24/18 Page 2 of 3 PageID# 317



Dated: September 24, 2018                           Respectfully submitted,

                                                    /s/ Thomas M. Buchanan
                                                    Thomas M. Buchanan (VSB No. 21530)
                                                    Winston & Strawn LLP
                                                    1700 K Street, NW
                                                    Washington, DC 20006-3817
                                                    Tel: (202) 282-5787
                                                    Fax: (202) 282-5100
                                                    Email: tbuchana@winston.com

                                                    Attorney for Cox Communications, Inc.
                                                    and CoxCom, LLC

Of Counsel for Defendants

Michael S. Elkin (pro hac vice application pending)
Thomas Patrick Lane (pro hac vice application pending)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Telephone: (212) 294-6700
Facsimile: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice application pending)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Telephone: (415) 591-1000
Facsimile: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice application forthcoming)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Telephone: (213) 615-1700
Facsimile: (213) 615-1750
Email: dhleiden@winston.com




                                              -2-
Case 1:18-cv-00950-LO-JFA Document 22 Filed 09/24/18 Page 3 of 3 PageID# 318



                               CERTIFICATE OF SERVICE

       I certify that on September 24 2018, a copy of the foregoing DEFENDANTS’ MOTION

TO TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404 was filed electronically with the

Clerk of Court using the ECF system which will send notifications to ECF participants.



                                                    /s/ Thomas M. Buchanan
                                                    Thomas M. Buchanan (VSB No. 21530)
                                                    Winston & Strawn LLP
                                                    1700 K Street, N.W.
                                                    Washington, D.C. 20006-3817
                                                    Tel: (202) 282-5787
                                                    Fax: (202) 282-5100
                                                    Email: tbuchana@winston.com

                                                    Attorney for Cox Communications, Inc. and
                                                    CoxCom, LLC




                                              -3-
